 A.L., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Children: R. A., M. A., and S. A., and Concerning R. A., Jr.; M. A.; and R. A., Sr. No. 22SC447Supreme Court of Colorado, En BancAugust 1, 2022
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case Nos. 21CA411 &amp; 21CA448
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
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